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 10                    IN THE UNITED STATES DISTRICT COURT
 11                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 12
 13
 14
      Kim Rhode et al.,                           3:18-cv-00802-BEN-JLB
 15
                                    Plaintiffs,
 16
                  v.                           DEFENDANT XAVIER
 17                                            BECERRA’S OPPOSITION TO
                                               PLAINTIFFS’ MOTION FOR
 18   Xavier Becerra, in his official capacity PRELIMINARY INJUNCTION
      as Attorney General of the State of
 19   California, et al.,                      Date:       August 19, 2019
                                               Time:       10:30 a.m.
 20                               Defendants. Dept:        5A
                                               Judge:      Hon. Roger T. Benitez
 21                                            Action Filed:    4/27/2018
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  1                                       INTRODUCTION
  2        Proposition 63 enacted ammunition eligibility check laws that work. In the
  3   first month these laws were in effect, they stopped over 100 prohibited persons
  4   from purchasing ammunition in California. And countless other prohibited persons
  5   were likely deterred from even trying to purchase ammunition that they cannot
  6   lawfully possess. These reasonable and effective public safety laws should not be
  7   enjoined while this lawsuit proceeds.
  8        Plaintiffs are not entitled to the broad relief they seek here—a court order
  9   enjoining enforcement of the Ammunition Eligibility Check Laws (Cal. Pen. Code
 10   §§ 30352, 30370, and their implementing regulations) in all of their applications.
 11   Plaintiffs do not claim that they have been unable to buy ammunition, or even that
 12   they have experienced substantial delays. Instead, they rely on imprecise estimates
 13   of nonparty ammunition vendors to outline a handful of burdens that no Plaintiff
 14   has experienced. These anecdotal reports, however, do not establish a
 15   constitutional violation. As a matter of law, there is a reasonable fit between the
 16   Ammunition Eligibility Check Laws and California’s compelling public safety
 17   interest: they prevent criminals from buying ammunition at gun shops, sporting
 18   goods stores, and other lawful vendors. And the burden on the average ammunition
 19   purchaser is minimal: about five minutes and a $1 transaction fee.
 20        Plaintiffs also cannot meet their burden to establish the other preliminary
 21   injunction factors. Their claimed irreparable harm relies solely on their arguments
 22   on the merits, and fails for the same reasons—and, as to their dormant Commerce
 23   Clause claim, also fails because they delayed over a year-and-a-half to bring the
 24   motion. The balance of the equities and public interest both weigh against
 25   enjoining enforcement of laws that are actively stopping dangerous people from
 26   purchasing ammunition. The short wait imposed by the eligibility checks does not
 27   offset that public good.
 28        This Court should therefore deny Plaintiffs’ motion.
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  1                                     BACKGROUND
  2   I.   BEFORE JULY 2019, VIOLENT CRIMINALS AND OTHER PROHIBITED
           PERSONS COULD, AND DID, PURCHASE AMMUNITION FROM LEGAL
  3        SOURCES
  4        The evidence shows that, in the absence of eligibility checks like the ones
  5   challenged here, prohibited persons regularly purchase ammunition from unwitting
  6   vendors.
  7        Los Angeles and Sacramento have both enacted ordinances regulating the sale
  8   of ammunition within their borders. Los Angeles adopted its ordinance in 1998.
  9   L.A., Cal., Mun. Code, § 55.11 (1998). That ordinance requires purchasers to
 10   provide identification, address, birth date, and a thumbprint, and requires vendors to
 11   keep logs of purchasers’ information, the date of each sale, and the type and
 12   quantity of ammunition sold. Id. A group of researchers working with the United
 13   States Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF), studied the
 14   data for ammunition sales by vendors in the San Fernando Valley over a two-month
 15   period in 2004. Req. for Judicial Notice in Supp. of Def.’s Opp’n to Pls.’ Mot. for
 16   Prelim. Inj. (Def. RJN), Ex. 1 at 309. The data included “2031 purchasers who
 17   made 2540 transactions that resulted in the sale of 4823 boxes of ammunition”
 18   totaling over 435,000 rounds. Id. Of these transactions, 2.8% were made by
 19   prohibited persons accounting for 2.3% of the ammunition sold (or 10,050 rounds).
 20   Id. at 310. The numbers reflecting sales to prohibited persons may have been low,
 21   however, because the businesses studied were not located near the “high crime”
 22   area of the city, which had the highest homicide rate. See id. at 309. Law
 23   enforcement agencies believed that ammunition in that area came largely from the
 24   nearly one dozen vendors located just outside the city limits that were not
 25   documenting the purchases because they were not subject to the ordinance. Id.
 26        In 2007, Sacramento enacted a similar ammunition sales ordinance.
 27   Sacramento, Cal., City Code, ch. 5.66. The law requires ammunition vendors to
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   1   maintain logs that record all ammunition sales. Id. § 5.66020. At the time of sale,
   2   purchasers must provide, and vendors must record, information similar to that
   3   required by the Los Angeles ordinance, including the purchaser’s name, address,
   4   and ID number, and the brand, type, and quantity of ammunition sold. Id.
   5   Purchasers must also submit a thumbprint. Id. Vendors must then submit the
   6   information electronically to the Sacramento Police Department. Id. § 5.66.040.
   7        In August 2008, the Sacramento Police Department prepared a report for the
   8   City Council on the effectiveness of the ordinance. Def. RJN, Ex. 2. The report
   9   explained that the data collected “has allowed the Department to identify and
  10   investigate offenders involved in firearm-related crimes.” Id. at 4. It noted that the
  11   “rate of detection of criminal violators has proven to be higher than originally
  12   expected.” Id. It then provided data for 2,250 purchasers over a six month period.
  13   Id. at pdf p. 6.
  14        Seventy-four purchasers, 3.2% of the total, were prohibited from possessing a
  15   firearm or ammunition. Id. at pdf p. 8. Sixty-one of those purchasers had felony
  16   convictions. Id. And, of those, 21 had violent felony convictions. Id. The data led
  17   state prosecutors to file felony charges against 53 people, and federal prosecutors to
  18   file seven indictments. Id. at pdf pp. 13-14. The data also provided probable cause
  19   for 28 search warrants, which uncovered evidence of additional crimes, including
  20   additional unlawfully possessed ammunition, firearms, illegal drugs, and stolen
  21   property. Id. at pdf pp. 16-17. Pictures of seized firearms show what appear to be
  22   high-capacity magazines, including two drum magazines, and assault rifles. Id. at
  23   pdf p. 19.
  24        Evidence from other jurisdictions also shows that unregulated ammunition
  25   sales contribute to crime. In 2007, New Jersey’s State Commission on
  26   Investigation issued a report titled Armed and Dangerous: Guns, Gangs and Easy
  27   Access to Firearms Ammunition in New Jersey. Def. RJN, Ex. 3. The Commission
  28   gathered evidence regarding ammunition and crime and heard testimony from law
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   1   enforcement experts on the subject. At a 2006 hearing, Chris Christie, then the
   2   United States Attorney for New Jersey, told the Commission that it was performing
   3   a “great service” by looking into the problem of ammunition, saying “you’re only
   4   dealing with half the problem when you’re dealing with the gun issue.” Id. at 17.
   5   State law enforcement officials testified that it was “not unusual to find caches of
   6   commercially-purchased ammunition during searches of property linked to criminal
   7   suspects.” Id. at 18. They gave an example of a person with an outstanding
   8   warrant who was stopped with ammunition in a bag “bearing the name of a
   9   prominent sporting goods store along with what appeared to be a handwritten
  10   ammunition shopping list.” Id. Officials later determined that he was purchasing
  11   the ammunition at the behest of a high-ranking member of the Bloods, a prominent
  12   street gang. Id.
  13         The Commission found evidence that gang members lawfully purchased
  14   ammunition that was later used in crimes, including homicides. Id. at 3. And it
  15   found that “purchases of ammunition by convicted felons are widespread.” Id. As
  16   an example, it cited one store where “more than 15,000 rounds of handgun
  17   ammunition were sold to 42 convicted felons over one four-year period.” Id. A
  18   survey of 60 retail outlets spanning 19 of New Jersey’s 21 counties uncovered that
  19   43 had “sold handgun ammunition to individuals with criminal records.” Id. at 2.
  20   II.   PROPOSITION 63 REQUIRES ELIGIBILITY CHECKS FOR AMMUNITION
             PURCHASES.
  21
             Prop. 63 introduced “reasonable and common-sense reforms” to California’s
  22
       gun laws while “safeguarding the Second Amendment rights of all law-abiding,
  23
       responsible Californians.” Prop. 63 § 3.1.1 The voters found that these reforms
  24
       were necessary because gun violence kills or seriously injures thousands of
  25
  26          1
               Before the November 2016 election, the California Legislature enacted
       Senate Bill 1235 (2016 Cal. Stat., ch. 55). That law prospectively amended aspects
  27   of Prop. 63. References to Prop. 63 are to the law as amended. This Court has
       taken judicial notice of the Proposition 63 voter guide in this case. Rhode v.
  28   Becerra, 342 F. Supp. 3d 1010, 1012 (S.D. Cal. 2018).
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   1   Californians each year, “destroy[ing] lives, families and communities.” Prop. 63
   2   §§ 2.1-2.4. Loopholes in the State’s gun safety laws permitted violent felons and
   3   other persons prohibited from possessing firearms and ammunition to perpetuate
   4   gun violence. Prop. 63 §§ 2.5-2.8.
   5        One of the most significant of these regulatory gaps allowed people who could
   6   not pass a firearms background check to purchase ammunition from a gun shop,
   7   sporting goods store, or other lawful vendor. Prop. 63 §§ 2.6-2.7. Recognizing that
   8   background checks for firearms blocked 82,000 purchases by felons in 2012 alone,
   9   the voters decided that the law should “require background checks for ammunition
  10   sales just like gun sales[.]” Prop. 63 §§ 2.6-2.7. Prop. 63 amended the California
  11   Penal Code to close the loophole, and regulate the sale or transfer of ammunition.
  12   As of July 1, 2019, licensed ammunition vendors must conduct eligibility checks
  13   before selling or transferring ammunition to a buyer in California. Cal. Pen. Code
  14   §§ 30352, 30370.
  15   III. THE DEPARTMENT OF JUSTICE PROMULGATED REGULATIONS AND
            UPGRADED ITS DEALER RECORD OF SALE ENTRY SYSTEM TO
  16        IMPLEMENT AMMUNITION ELIGIBILITY CHECKS
  17        Prop. 63 authorizes the Department to promulgate regulations to implement
  18   the eligibility check requirement. Cal. Pen. Code § 30370(g). The Department
  19   started the rulemaking process in 2018. The new regulations were outlined in a
  20   Notice of Proposed Rulemaking. Decl. of Mayra G. Morales in Supp. of Def.’s
  21   Opp’n to Pls.’ Mot. for Prelim. Inj. (Morales Decl.) Ex. 1. The notice discussed
  22   four types of eligibility checks: (1) a “Standard Ammunition Eligibility Check” for
  23   people with entries in the State’s Automated Firearms System (AFS); (2) a “Basic
  24   Ammunition Eligibility Check” for people without an entry in AFS or a Certificate
  25   of Eligibility (COE); (3) a “Firearms Eligibility Check” for ammunition purchased
  26   at the same time as a firearm; and (4) a verification process for COE holders to
  27   purchase ammunition (COE Verification Check). See Morales Decl. ¶ 14.
  28
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   1           The Department invited written comments and held public hearings on the
   2   proposed regulations in Sacramento and Los Angeles in January 2019. Morales
   3   Decl. ¶¶ 9-10. In response to the comments it received, the Department revised the
   4   proposed regulations in April 2019 and re-submitted them for another round of
   5   public comment. Id. ¶ 11. The regulations became final on June 24, 2019. Id.
   6   ¶ 13.
   7           The regulations establish the procedures for each type of eligibility check. A
   8   Standard Ammunition Eligibility Check costs $1 and allows a person to purchase
   9   ammunition if their information matches an AFS entry and does not match an entry
  10   in the Prohibited Armed Persons File established by Penal Code section 30000.
  11   Cal. Code Regs., tit. 11, §§ 4302(a)-(b), 4301(m). To perform the check, an
  12   ammunition vendor submits the purchaser’s “name, date of birth, current address,”
  13   and ID number to the Department electronically via the “Dealer Record of Sale
  14   Entry System” or “DES” website. Id. §§ 4302(c), 4301(i); see also Morales Decl.
  15   ¶¶ 16-24. Submitting a buyer’s information via the DES website involves a series
  16   of steps that the Department outlined, among other places, in a June 2019 bulletin
  17   to ammunition vendors. Morales Decl., Ex. 5. After accessing the DES website,
  18   logging in, and navigating a dropdown menu, the vendor scans the purchaser’s ID
  19   using a magnetic card swipe reader to populate the majority of the following fields:
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   1   Id. at 3. The vendor then selects the preview button to review the information, and,
   2   if the information is accurate, submits it to the Department. Id. at p. 4. Once the
   3   information has been submitted, the vendor can review the results of the eligibility
   4   check. Id. at 5. An approval will come with an “Eligibility Check DROS number”
   5   and remains valid for 18 hours. Id. at 8, 13.
   6        To complete the transaction, the vendor confirms the purchaser’s identification
   7   and verifies the approval using the Eligibility Check DROS number. Id. at 8. The
   8   vendor then enters information about the ammunition being sold in the following
   9   fields:
  10
  11
  12
  13
  14
  15
  16   Id.; see also Cal. Code Regs., tit. 11, § 4308(c)(2); Cal. Penal Code § 30352(a).
  17   After completing the mandatory fields marked by red asterisks, the vendor finalizes
  18   the transaction by printing out the record of sale, signing it, having the purchaser
  19   sign it, and then storing the hardcopy record. Morales Decl., Ex. 5 at 11.
  20        The process for COE Verification Checks is similar. See Cal. Code Regs., tit.
  21   11, § 4305; see also Morales Decl. ¶¶ 27-29. The Basic Ammunition Eligibility
  22   Check for a single transaction or purchase involves a manual review by Department
  23   staff, costs more ($19), may take several days, and is valid for 30 days after
  24   approval. Id. § 4303; Morales Decl. ¶ 26.
  25   IV. THE DEPARTMENT ADOPTED NEW IDENTIFICATION REQUIREMENTS
           FOR PURCHASING FIREARMS AND AMMUNITION.
  26
            Federal law prohibits certain categories of non-citizens from purchasing or
  27
       possessing a firearm or ammunition, including anyone who is “illegally or
  28
                                                  7
                               Def.’s Opp’n to Pls.’ Mot. for Prelim. Inj. (3:18-cv-00802-BEN-JLB)
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   1   unlawfully in the United States.” 18 U.S.C. § 922 (d)(5)(A), (g)(5)(A). California
   2   law requires a prospective ammunition purchaser to provide a driver’s license or
   3   identification card (hereafter referred to interchangeably as IDs), as part of the
   4   eligibility check process. Cal. Pen. Code § 30352(a)(2).
   5        Proof of lawful presence in the United States is ordinarily required to obtain a
   6   California ID. Cal. Veh. Code §§ 12801.5(a), (b). In 2013, however, the
   7   Legislature enacted Assembly Bill (AB) 60, Stats. 2013, Ch. 524, which permits
   8   persons who cannot provide proof of lawful presence in the United States to obtain
   9   a California ID. Cal. Veh. Code § 12801.9. When the California Department of
  10   Motor Vehicles first began issuing AB 60 IDs in 2015, they were distinguishable
  11   from regular California IDs, by the notation “FEDERAL LIMITS APPLY” (FLA)
  12   imprinted on the front. See, e.g., Morales Decl., Ex. 10 at 1; id., Ex. 12 at 3.
  13        After the AB 60 IDs became available, the ATF issued a letter to all federally
  14   licensed firearms dealers stating that because California’s AB 60 IDs are “only
  15   issued to a person who cannot provide proof of lawful presence in the United
  16   States,” there is “reasonable cause to believe a potential transferee in possession of
  17   an AB [60] driver license is illegally or unlawfully in the United States and
  18   prohibited from receiving or possessing firearms or ammunition. As such, you may
  19   not transfer firearms or ammunition to the person . . . .” Morales Decl., Ex. 10.
  20        In January 2018, DMV began issuing IDs in compliance with the federal
  21   REAL ID Act of 2005. Pub. L. No. 109-13, 119 Stat. 231, §§ 201-202. That law
  22   sets minimum security standards for the issuance and production of IDs.2 As part
  23   of its REAL ID implementation, DMV began offering two forms of visually
  24   distinct IDs: a REAL ID compliant version, which has a golden bear and star in the
  25
             2
               The REAL ID Act provides that “[b]eginning 3 years after the date of the
  26   enactment of this division, a Federal agency may not accept, for any official
       purpose, a driver’s license or identification card issued by a State to any person
  27   unless the State is meeting the requirements of this section.” 119 Stat. 231 at
       § 202(a)(1). The Act sets minimum standards for states issuing compliant IDs,
  28   including evidence of lawful status. Id. at § 201(c)(1)(B).
                                                  8
                               Def.’s Opp’n to Pls.’ Mot. for Prelim. Inj. (3:18-cv-00802-BEN-JLB)
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   1   top right corner; and a federal non-compliant version, which has the words
   2   “FEDERAL LIMITS APPLY” in the top right corner. Morales Decl., Ex. 12 at 3.
   3   The federal non-compliant version is issued to both: (1) individuals applying under
   4   AB 60; and (2) individuals who chose not to apply for a REAL ID. See Morales
   5   Decl. ¶ 37.
   6        Following this change, ATF withdrew its earlier guidance on AB 60 licenses
   7   and identification cards. ATF later provided informal guidance on federal non-
   8   compliant licenses in an e-mail to the law firm representing Plaintiffs in this case.
   9   That e-mail states that firearms dealers “‘may consider asking for additional
  10   documentation (e.g., passport) so that the transfer is not further delayed.’” Brady
  11   Decl., Ex. 37 at 4 & n.7 (quoting ATF e-mail), ECF NO. 32-2. The National Rifle
  12   Association (NRA) then issued a March 2018 alert, advising firearms dealers to ask
  13   for “additional documentation” if the dealer has “cause to believe the individual
  14   using one of these licenses may be prohibited from possessing firearms,” and that
  15   “Californians who want to make sure they have zero problems purchasing a firearm
  16   in the future may want to consider applying for and acquiring a REAL ID through
  17   the DMV.” Morales Decl., Ex. 9.
  18        In November 2018, the Department issued guidance consistent with the ATF
  19   and NRA’s guidance, suggesting that firearms dealers “may wish to consider asking
  20   for documentation of lawful presence in the United States” from prospective
  21   purchasers presenting an FLA ID. Def. RJN, Ex. 4. The Department
  22   simultaneously issued a consumer alert, advising California residents with FLA IDs
  23   that a firearms dealer may require additional documentation for firearms purchases.
  24   Def. RJN, Ex. 5.
  25        The Department concluded that its voluntary guidance (which was not
  26   uniformly observed by vendors) was insufficient to address the threat to public
  27   safety from potential sales of firearms and ammunition to prohibited persons.
  28   Morales Decl., Ex. 8 at 4-5. The Department thus promulgated a new regulation
                                                  9
                               Def.’s Opp’n to Pls.’ Mot. for Prelim. Inj. (3:18-cv-00802-BEN-JLB)
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   1   requiring firearms and ammunition purchasers presenting an FLA ID to also present
   2   additional proof of lawful presence. Cal. Code Regs. tit. 11, § 4045.1. That
   3   regulation took effect on July 1, 2019.
   4        The new regulation’s list of acceptable documents for additional proof of
   5   lawful presence is identical in substance to the list of documents in the voluntary
   6   guidance that preceded it, which in turn was drawn from the list of documents
   7   required when applying for a California ID, other than one issued under AB 60.
   8   Compare Cal. Code Regs. tit. 11, § 4045.1(b) with Cal. Code Regs. tit. 13,
   9   §§ 15.00(a), 17.02(b).
  10   V.   AMMUNITION ELIGIBILITY CHECKS COMMENCED ON JULY 1, 2019.
  11        The Department’s DES started processing ammunition eligibility checks on
  12   July 1, 2019. Morales Decl. ¶ 46. During its first month, the system processed
  13   over 62,000 transactions, and denied over 100 ammunition transactions by
  14   prohibited persons. Id. ¶¶ 48-49. Of the over 57,000 Standard Ammunition
  15   Eligibility Checks processed, roughly 46,700 were approved. Id. ¶ 50. Over 850
  16   COE Verification Checks and over 3,500 Basic Ammunition Eligibility Checks
  17   were processed as well. Id. ¶¶ 51-52.
  18        The average processing time for a Standard Ammunition Eligibility Check
  19   (measured by the time between when the vendor submits the eligibility check and
  20   when the vendor hits the “Deliver” button in DES) was just under five minutes for
  21   the first month. Id. ¶¶ 55, 57. It took the system, on average, less than a second to
  22   determine whether the purchaser was eligible. Id. ¶¶ 53-54.
  23        During the first week of operation, the Department’s Customer Support Center
  24   experienced a spike in calls, which dropped significantly in the following weeks.
  25   Id. ¶¶ 70-73. The Department also received notice of some technical issues with
  26   DES. Id. ¶ 73. For instance, purchasers who had more than two first names were
  27   experiencing delays. The Department has since resolved this issue, and is in the
  28   process of addressing other issues as well. Id. ¶¶ 73-74.
                                                   10
                                Def.’s Opp’n to Pls.’ Mot. for Prelim. Inj. (3:18-cv-00802-BEN-JLB)
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   1                                   LEGAL STANDARD
   2        “A preliminary injunction is an extraordinary remedy never awarded as of
   3   right.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). Plaintiffs
   4   seeking an injunction must establish that: (1) their claims are likely to succeed on
   5   the merits; (2) they will likely suffer irreparable harm in the absence of preliminary
   6   relief; (3) the balance of equities tips in their favor; and (4) an injunction is in the
   7   public interest. Id. at 20. Alternatively, “[a] preliminary injunction is appropriate
   8   when a plaintiff demonstrates that serious questions going to the merits were raised
   9   and the balance of hardships tips sharply in the plaintiff’s favor.” Alliance for the
  10   Wild Rockies v. Cottrell, 632 F.3d 1127, 1134-35 (9th Cir. 2011) (internal citation
  11   omitted). Plaintiffs must make a showing of all four Winter factors, even under the
  12   alternative sliding scale test. Id. at 1132, 1135.
  13                                        ARGUMENT
  14   I.   PLAINTIFFS CANNOT ESTABLISH A LIKELIHOOD OF SUCCESS ON THE
            MERITS OF THEIR SECOND AMENDMENT CHALLENGE.
  15
            In District of Columbia v. Heller, 554 U.S. 570, 635 (2008), the Supreme
  16
       Court held that “the Second Amendment protects the right to possess a handgun in
  17
       the home for the purpose of self-defense.” McDonald v. Chicago, 561 U.S. 742,
  18
       791 (2010). “Heller indicated that the Second Amendment does not preclude
  19
       certain ‘longstanding prohibitions’ and ‘presumptively lawful regulatory measures,’
  20
       such as . . . ‘laws imposing conditions and qualifications on the commercial sale of
  21
       arms[.]” Jackson v. City & County of San Francisco, 746 F.3d 953, 959 (9th Cir.
  22
       2014) (quoting Heller, 554 U.S. at 626-27 & n.26). To analyze a Second
  23
       Amendment challenge, courts first ask whether a law burdens the Second
  24
       Amendment at all; if it does, they will then determine the appropriate level of
  25
       scrutiny. Teixeira v. County of Alameda, 873 F.3d 670, 682 (9th Cir. 2017) (en
  26
       banc).
  27
  28
                                                   11
                                Def.’s Opp’n to Pls.’ Mot. for Prelim. Inj. (3:18-cv-00802-BEN-JLB)
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   1        “[C]ourts determine the appropriate level by considering (1) how close the
   2   challenged law comes to the core of the Second Amendment right, and (2) the
   3   severity of the law’s burden on that right.” Bauer v. Becerra, 858 F.3d 1216, 1221-
   4   22 (9th Cir. 2017) (quotation marks omitted). This test “amounts to a sliding
   5   scale.” Id. (quotation marks omitted). “A law that imposes such a severe
   6   restriction on the fundamental right of self defense of the home that it amounts to a
   7   destruction of the Second Amendment right is unconstitutional under any level of
   8   scrutiny.” Id. (quotation marks omitted). “Further down the scale, a law that
   9   implicates the core of the Second Amendment right and severely burdens that right
  10   warrants strict scrutiny.” Id. “Otherwise, intermediate scrutiny is appropriate.” Id.
  11        Prop. 63’s Ammunition Eligibility Check Laws are the kind of presumptively
  12   lawful regulatory measures that the Supreme Court has said do not implicate the
  13   Second Amendment. See Jackson, 746 F.3d at 959.3 But even if they did implicate
  14   the Second Amendment, these laws would be subject to, and satisfy, intermediate
  15   scrutiny.
  16        A.     Intermediate Scrutiny Is the Appropriate Standard.
  17        Intermediate scrutiny applies to the Ammunition Eligibility Check Laws
  18   because they “regulate only the ‘manner in which persons may exercise their
  19   Second Amendment rights’” and are thus “less burdensome than those which bar
  20
  21         3
                The ammunition eligibility check process constitutes a permissible
       condition or qualification on the commercial sale of arms. See Heller, 554 U.S.
  22   at 626-27 & n. 26. It imposes requirements similar to other laws that judges and
       courts have found do not implicate the Second Amendment, such as firearms
  23   background checks, zoning ordinances that affect firearms dealers, and consumer
       protection requirements, such as load indicators. See Silvester v. Harris, 843 F.3d
  24   816, 830 (9th Cir. 2016) (Thomas, C.J., concurring) (firearms background check
       and waiting requirements); Teixeira, 873 F.3d at 690 (Owens, J., concurring)
  25   (zoning restrictions); Draper v. Healey, 98 F. Supp. 3d 77, 85 (D. Mass. 2015)
       (load indicator and magazine safety disconnect requirements in handguns).
  26   Because Plaintiffs’ claim fails under the intermediate scrutiny standard, this Court
       need not reach this question. See, e.g., Pena v. Lindley, 898 F.3d 969, 977 (9th Cir.
  27   2018) (noting numerous cases where Ninth Circuit had assumed without deciding
       that a law burdened the Second Amendment and doing the same).
  28
                                                  12
                               Def.’s Opp’n to Pls.’ Mot. for Prelim. Inj. (3:18-cv-00802-BEN-JLB)
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   1   firearm possession completely.” 4 See Silvester, 843 F.3d at 827 (quoting United
   2   States v. Chovan, 735 F.3d 1127, 1139 (9th Cir. 2013)). The Ammunition
   3   Eligibility Check Laws do not prevent law-abiding people who are permitted to
   4   possess ammunition from purchasing it, and thus does not implicate “the core
   5   Second Amendment right of ‘self defense of the home.’” Pena, 898 F.3d at 977
   6   (quoting Silvester, 843 F.3d at 821). The Ninth Circuit has analyzed similar laws
   7   under intermediate scrutiny. See Silvester, 843 F.3d at 827 (10-day waiting period
   8   for firearm purchases); Jackson, 746 F.3d at 964 (law requiring handguns to be
   9   stored in a locked safe or with a trigger lock when not carried on the person and law
  10   banning the sale of hollow-point bullets); Bauer, 858 F.3d at 1222 (“[W]e have
  11   repeatedly applied intermediate scrutiny in cases where we have reached this
  12   step.”); see also Heller v. District of Columbia, 801 F.3d 264, 275 (D.C. Cir. 2015)
  13   (Heller III) (applying intermediate scrutiny to Washington D.C.’s firearms
  14   registration law, which required an in-person appearance, fingerprinting, and
  15   photographing).
  16        B.   The Ammunition Eligibility Check Laws Satisfy Intermediate
                 Scrutiny.
  17
            The intermediate scrutiny “test is not a strict one.” Silvester, 843 F.3d at 827.
  18
       “Intermediate scrutiny requires (1) a significant, substantial, or important
  19
       government objective, and (2) a ‘reasonable fit’ between the challenged law and the
  20
       asserted objective.” Pena, 898 F.3d at 979. It does not require the fit between the
  21
       challenged regulation and the stated objective to be perfect, nor does it require that
  22
       the regulation be the least restrictive means of serving the interest. Jackson, 746
  23
       F.3d at 969. Rather, the government “must be allowed a reasonable opportunity to
  24
       experiment with solutions to admittedly serious problems.” Id. at 969-70 (quoting
  25
       City of Renton v. Playtime Theatres, Inc., 475 U.S. 41, 52 (1986)). Courts do not
  26
  27
             4
                Despite a perfunctory argument to the contrary, Plaintiffs appear to concede
  28   that intermediate scrutiny applies. See Pls.’ Br. 13:9-17.
                                                  13
                               Def.’s Opp’n to Pls.’ Mot. for Prelim. Inj. (3:18-cv-00802-BEN-JLB)
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   1   look to evidence “in the technical sense” because “legislatures are not obligated,
   2   when enacting their statutes, to make a record of the type that an administrative
   3   agency or court does to accommodate judicial review[.]” Pena, 898 F.3d at 979
   4   (quotation marks omitted).
   5        California has a substantial interest in increasing public safety and preventing
   6   crime, and the Ammunition Eligibility Check Laws, which prevent convicted felons
   7   and other prohibited persons from purchasing ammunition, is a reasonable fit to
   8   address that interest. See Prop. 63 §§ 2.7-2.8, 3.2-3.3.
   9             1.   The Ammunition Eligibility Check Laws serve California’s
                      substantial interest in public safety and crime prevention.
  10
            Prop. 63 was intended to “keep ammunition out of the hands of convicted
  11
       felons, the dangerously mentally ill, and other persons who are prohibited by law
  12
       from possessing firearms and ammunition.” Prop. 63 § 3.2. The voters declared
  13
       that “[w]e should require background checks for ammunition sales just like gun
  14
       sales, and stop both from getting into the hands of dangerous individuals.” Prop. 63
  15
       § 2.7. Thus, the purpose of the law was to protect public safety and prevent crime,
  16
       which are undeniably substantial government interests. See, e.g., Pena, 898 F.3d
  17
       at 981-82 (“public safety and crime prevention . . . are substantial government
  18
       interests”). As the Ninth Circuit has recognized, “public safety is advanced by
  19
       keeping guns out of the hands of people who are most likely to misuse them[.]”
  20
       Bauer, 858 F.3d at 1223. The same holds true for keeping ammunition out of the
  21
       hands of violent felons and other prohibited persons. Cf. Jackson, 746 F.3d at
  22
       p. 967 (equating ammunition to firearms for Second Amendment analysis).
  23
            Compelling evidence demonstrates the danger to public safety and criminal
  24
       activity associated with unregulated ammunition sales. The experiences of Los
  25
       Angeles and Sacramento show that prohibited persons purchase ammunition in gun
  26
       stores—and that they constitute about 3% of all purchasers. Def. RJN, Ex. 1 at
  27
       310; Def. RJN, Ex. 2 at pdf p. 8. In Sacramento, these prohibited purchasers
  28
                                                  14
                               Def.’s Opp’n to Pls.’ Mot. for Prelim. Inj. (3:18-cv-00802-BEN-JLB)
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   1   included violent felons who drew the interest of state and federal prosecutors. See
   2   Def. RJN, Ex. 2 at pdf pp. 13-17. California’s experiences are confirmed by the
   3   report of New Jersey’s State Commission on Investigation. Def. RJN, Ex. 3.
   4   Among other things, the Commission found that “purchases of ammunition by
   5   convicted felons are widespread.” Id. at 3.
   6        Plaintiffs do not dispute the substantial public interest in preventing dangerous
   7   people from purchasing ammunition. See Pls.’ Br. 14:3. Instead, they urge this
   8   Court to use a standard that the Ninth Circuit has implicitly rejected. They argue
   9   that California’s interest in ammunition background checks cannot be substantial
  10   because “only one other state in the county has adopted an ammunition scheme
  11   even remotely comparable to California’s[.]” Pls.’ Br. 14:6-11 (citing Heller v.
  12   District of Columbia, 670 F.3d 1244, 1294 (D.C. Cir. 2011) (Heller II)
  13   (Kavanaugh, J., dissenting).) If this were the standard, states would be prevented
  14   from innovating and experimenting with new ways to address, for example, “the
  15   problem of handgun violence in this country[.]” See Heller I, 554 U.S. at 636. But
  16   this is not the proper standard, as the Ninth Circuit’s decision in Pena shows.
  17   Applying intermediate scrutiny, the court upheld California’s “microstamping
  18   requirement,” a law that was “the first of its kind,” and “an experimental solution to
  19   admittedly serious problems.” Pena, 898 F.3d at 984 (“[A] single courageous state
  20   may, if its citizens choose, serve as a laboratory, and try novel legislative
  21   experiments.” (internal alterations and quotation marks omitted)). 5
  22
  23         5
               Plaintiffs also contend that “the State has identified no interest in its
       maintaining records about what ammunition people purchase.” See Pls.’ Br. 15:82-
  24   16:14. But their motion does not seek to enjoin the data collection requirements in
       Penal Code sections 30352 and 30355. This may be because no Plaintiff would
  25   have standing to raise such a claim, because none is a licensed ammunition vendor.
       See FAC ¶¶ 11-22. The contention is also wrong. The data collection
  26   requirements advance California’s interest in public safety and crime prevention by
       providing evidence that law enforcement can use to solve crimes, including straw
  27   purchases. See, e.g., Def. RJN, Ex. 2 at pdf pp. 13-14 (noting that ammunition
       ordinance had led to search warrants that uncovered additional crimes).
  28
                                                  15
                               Def.’s Opp’n to Pls.’ Mot. for Prelim. Inj. (3:18-cv-00802-BEN-JLB)
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   1        The remainder of Plaintiffs’ argument on the first prong of the intermediate
   2   scrutiny test mirrors their argument on the second prong, and it fails for the same
   3   reasons.
   4              2.   The Ammunition Eligibility Check Laws reasonably fit the
                       public’s interest in protecting safety and reducing crime
   5                   associated with unregulated ammunition sales.
   6        In the first month of operation, the Ammunition Eligibility Check Laws have
   7   prevented over 100 prohibited persons from purchasing ammunition.6 Morales
   8   Decl. ¶ 49. This evidence that persons prohibited from possessing firearms try to
   9   purchase ammunition in the commercial market is consistent with the experience of
  10   Sacramento and Los Angeles. Data collected following adoption of these
  11   municipal regulations of ammunition sales showed the frequency with which
  12   prohibited persons purchase ammunition. Def. RJN, Ex. 1 at 310; Def. RJN, Ex. 2
  13   at pdf p. 8. This evidence substantiates the voters’ finding that, before Prop. 63,
  14   “any violent felon or dangerously mentally ill person can walk into a sporting
  15   goods store or gun shop in California and buy ammunition, no questions asked.”
  16   Prop. 63 § 2.7. The number of people stopped from purchasing ammunition
  17   confirms their finding that “[w]e know background checks work,” and that
  18   ammunition background checks would “keep . . . ammunition out of the hands of
  19   convicted felons, the dangerously mentally ill, and other persons who are prohibited
  20   by law form possessing . . . ammunition.” Prop. 63 §§ 2.6, 3.2.
  21        This “‘legislative history of the enactment as well as studies in the record’”
  22   demonstrates “a ‘reasonable fit between the government’s stated objective and the
  23   regulation’ considers.” See Pena, 898 F.3d 979 (quoting Fyock v. Sunnyvale, 779
  24
             6
               This number does not include the undoubtedly large number of prohibited
  25   persons who, fearing arrest, avoided purchasing ammunition. Plaintiffs’ own
       declarants explain that many people, “after learning of the new requirements to
  26   purchase ammunition, [do] not wish to attempt an ammunition transaction.” Ortiz
       Decl. ¶ 15; Burwell Decl. ¶ 10; Puehse Decl. ¶ 12; Morgan Decl. ¶ 10; Bartel Decl.
  27   ¶ 10; Lowder Decl. ¶ 10; Gray Decl. ¶ 10. This is a predictable and intended side-
       effect of eligibility checks. See Pena, 898 F.3d at 984 (recognizing that the
  28   Legislature may make predictive policy judgments).
                                                  16
                               Def.’s Opp’n to Pls.’ Mot. for Prelim. Inj. (3:18-cv-00802-BEN-JLB)
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   1   F.3d 991, 1000 (9th Cir. 2017)). “The State is required to show only that the
   2   regulation ‘promotes a substantial government interest that would be achieved less
   3   effectively absent the regulation.” Silvester, 843 F.3d at 829 (quoting Fyock, 779
   4   F.3d at 1000).) Undeniably, California’s efforts to prevent prohibited persons from
   5   purchasing ammunition would be less effective in the absence of the Ammunition
   6   Eligibility Check Laws. This kind of fit is similar to others that the Ninth Circuit
   7   has upheld as reasonable under intermediate scrutiny. It is no different from the fit
   8   between the 10-day waiting period and the cooling-off period in Silvester, 843 F.3d
   9   at 827-29. And it is less burdensome than the handgun storage requirement in
  10   Jackson, 746 F.3d at 966; Silvester, 843 F.3d at 827 (holding that “requiring an
  11   applicant to wait ten days before taking possession of [a] firearm” was less
  12   burdensome than the ordinances in Jackson).
  13        Plaintiffs’ arguments to the contrary are unavailing. See Pls.’ Br. 16:26-20:6.
  14   Because they seek to enjoin enforcement of the Ammunition Eligibility Check
  15   Laws in all their applications, Plaintiffs “must establish that no set of circumstances
  16   exists under which the [regulation or statute] would be valid.” See United States v.
  17   Salerno, 481 U.S. 739, 745 (1987); see also Chem. Specialties Mfrs. Ass’n, Inc. v.
  18   Allenby, 958 F.2d 941, 943 (9th Cir. 1992). In other words, a plaintiff must show
  19   that the laws are unconstitutional in all of their applications. See Wash. State
  20   Grange v. Wash. State Republican Party, 552 U.S. 442, 450 (2008). Where, as
  21   here, laws have a “plainly legitimate sweep,” a facial challenge must fail. See id. at
  22   449 (citation and internal quotations omitted). Given that tens of thousands of
  23   ammunition transactions were processed in July alone, see Morales Decl. ¶¶ 48, 50-
  24   52, Plaintiffs cannot satisfy this demanding standard.
  25        Plaintiffs rely almost entirely on declarations by nonparty ammunition
  26   vendors. Plaintiffs use these declarations to support four incorrect contentions:
  27   (1) the laws are causing ammunition transactions to take too long; (2) the laws
  28   impose too big a burden on FLA ID holders, by requiring them to bring a second
                                                  17
                               Def.’s Opp’n to Pls.’ Mot. for Prelim. Inj. (3:18-cv-00802-BEN-JLB)
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   1   form of identification; (3) the laws are resulting in too many rejections; and (4) the
   2   laws are threatening the commercial viability of ammunition vendors. See Pls.’
   3   Br. 14:22-19:22. As a preliminary matter, no Plaintiff complains that they have an
   4   FLA ID, have had an ammunition eligibility transaction rejected, or are a licensed
   5   ammunition vendor. Plaintiffs lack standing to challenge the purported burdens of
   6   laws that do not apply to them. 7 See Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1548
   7   (2016); LSO, Ltd. v. Stroh, 205 F.3d 1146, 1154 (9th Cir. 2000) (“When plaintiffs
   8   seek to establish standing to challenge a law or regulation that is not presently being
   9   enforced against them, they must demonstrate a realistic danger of sustaining a
  10   direct injury as a result of the statute’s operation or enforcement.”); see also
  11   Libertarian Party of Eire Cty. v. Cuomo, 300 F. Supp. 3d 424, 434 (W.D.N.Y.
  12   2018) (“No court has held that an individual who applied for and received a
  13   firearms license has standing to challenge the constitutional validity of the licensing
  14   laws; indeed, courts have only found standing where the individual applied for a
  15   license and was denied.”). 8
  16
  17         7
                 To the extent Plaintiffs intend to argue that CRPA has associational
  18   standing to bring claims on behalf of its members, see Travis Decl. ¶¶ 5-14, they
       should fail for three reasons. First, the facts they rely on are not alleged in any
  19   pleading. See W. Mining Council v. Watt, 643 F.2d 618 (9th Cir. 1981) (“[F]acts
       demonstrating standing must be clearly alleged in the complaint.”). Second, even if
  20   they had been, the CRPA’s statements are the sort of conclusory statements that the
       court need not credit. See, e.g., Carrico v. City & County of San Francisco, 656
  21   F.3d 1002, 1006 (9th Cir. 2011). And third, CRPA cannot meet the test for
       associational standing, including showing that “neither the claim asserted nor the
  22   relief requested requires the participation of individual members in the lawsuit.”
       See San Diego Cty. Gun Rights Comm. v. Reno, 98 F.3d 1121, 1130-31 (9th Cir.
  23   1996).
               8
                 Plaintiffs also appear to request that the new ID regulation be enjoined. See
  24   Pls.’ Br. 14:22-15:15. In addition to the standing problem, this is not an
       appropriate request for relief because “there must be a relationship between the
  25   injury claimed in the motion for injunctive relief and the conduct asserted in the
       underlying complaint.” Pac. Radiation Oncology, LLC v. Queens Med. Ctr., 810
  26   F.3d 631, 636 (9th Cir. 2015). Enjoining enforcement of section 4045.1 is not of
       the same character as the relief requested in the FAC, which seeks an injunction
  27   prohibiting the eligibility checks. See FAC ¶¶ 104-110 & Prayer for Relief ¶ 5.
       Plaintiffs could have moved to supplement the FAC, but they did not. See Fed. R.
  28   Civ. P. 15(c).
                                                  18
                               Def.’s Opp’n to Pls.’ Mot. for Prelim. Inj. (3:18-cv-00802-BEN-JLB)
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   1        Beyond the threshold standing problem, Plaintiffs rely on weak evidence. The
   2   testimony of the nonparty declarants is unreliable because it is anecdotal, imprecise,
   3   and at odds with the Department’s program-wide and precise electronic evidence.
   4        Most notable among the nonparty ammunition vendors’ claims is the
   5   boilerplate that “it takes on average 15-25 minutes to enter all of the information
   6   required into DES for a transaction involving more than one type of ammunition.”
   7   Burwell Decl. ¶ 8; Puehse Decl. ¶ 10; Morgan Decl. ¶ 8; Bartel Decl. ¶ 8; Lowder
   8   Decl. ¶ 8; Gray Decl. ¶ 8; see also Ortiz Decl. ¶¶ 10-11 (stating transactions take 5-
   9   20 minutes); McNab Decl. ¶ 26 (“[I]t now takes at least 20 minutes—often more—
  10   to process an ammunition transaction.”). Even if the average processing time were
  11   15-25 minutes, that would not make the fit unreasonable. Other laws imposing
  12   greater burdens have withstood intermediate scrutiny. See, e.g., Silvester, 843 F.3d
  13   at 827-29.
  14        But it is unlikely that Plaintiffs’ anecdotal estimates are accurate. The
  15   Department’s electronic records show that across the over 42,000 Standard
  16   Ammunition Eligibility Checks that were approved in July, it took on average just
  17   under five minutes to process a transaction, from the point where the background
  18   check is submitted to the point where the vendor clicks the delivery button.
  19   Morales Decl. ¶¶ 55-58. Data on the nonparty declarants’ transactions shows that
  20   their own transactions take roughly the same amount of time on average. Morales
  21   Decl. ¶¶ 59-67. Many of these declarants averaged around three minutes. Morales
  22   Decl. ¶¶ 62-65. In addition, the one Individual Plaintiff who has offered testimony
  23   about her own experience purchasing ammunition seems to have significantly
  24   overestimated the transaction time. 9 See Morales Decl. ¶¶ 67-69.
  25         9
               Plaintiff Welvang states that she purchased ammunition on July 13 and that
       the process took “nearly 30 minutes.” Welvang Decl. ¶ 4, ECF No. 32-6. But
  26   Department records show that it took about one minute from the time her
       background check was submitted to the time the vendor hit the delivery button.
  27   Morales Decl. ¶¶ 67-68. For her estimate to be correct, the vendor would have had
       to have spent over 25 minutes to pull the ammunition from the shelf, enter her
  28
                                                  19
                               Def.’s Opp’n to Pls.’ Mot. for Prelim. Inj. (3:18-cv-00802-BEN-JLB)
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   1        This conflict in the evidence counsels against issuing a preliminary injunction.
   2   See Dymo Indus., Inc. v. Tapeprinter, Inc., 326 F.2d 141, 143 (9th Cir. 1964)
   3   (“[O]n application for preliminary injunction the court is not bound to decide
   4   doubtful and difficult questions of law or disputed questions of fact.”).
   5        Other deficiencies in Plaintiffs’ evidence of the burdens imposed by the
   6   eligibility checks also counsel against issuing a preliminary injunction. Plaintiffs
   7   contend that “countless people” are being prevented from purchasing ammunition
   8   because they have FLA IDs. Pls.’ Br. 17:13. But they offer no evidence of this,
   9   likely because presenting an approved form of additional documentation, such as a
  10   passport, is an easy cure. See Cal. Code Regs. tit. 11, § 4045.1.10 Requiring a
  11   subset of purchasers to provide a second form of identification hardly makes the
  12   Ammunition Eligibility Check Laws an unreasonable fit for the goal of keeping
  13   ammunition out of the hands of prohibited persons.
  14        Plaintiffs do not dispute that the purpose and effect of the identification
  15   requirements is to prevent persons without lawful presence from purchasing
  16   ammunition (or firearms) in violation of federal law. They nevertheless object that
  17   the identification requirements are invalid because: (1) California issues the federal
  18   non-compliant IDs “as a default and thus implicitly deems sufficient for all other
  19   purposes,” except for “purchasing ammunition,” and (2) “the federal government
  20   accepts [federal non-compliant] IDs as sufficient for its own purposes—including
  21   to pass background checks to purchase a firearm.” Pls.’ Br. 15:8-11 (citing 27
  22   C.F.R. § 478.11 and Plaintiffs’ Ex. 37). 11 Plaintiffs’ assertion that an FLA ID is
  23   information into the background check fields, and print out the record of sale for
       her signature. In addition, Department records show that Welvang made a second
  24   purchase on July 13 from a different ammunition vendor. Id. ¶ 69. That
       transaction, too, appears to have taken about a minute. Morales Decl. ¶ 69.
  25          10
                 Section 4045.1 lists the same type of documents that anyone must present
  26   to get their first California ID. See Cal. Code Regs., tit. 13, §§ 15.00(a), 16.04-08,
       17.02(b).
  27          11
                 The federal regulation Plaintiffs cite simply defines an “identification
       document” as one that contains “the name, residence address, date of birth, and
  28
                                                  20
                               Def.’s Opp’n to Pls.’ Mot. for Prelim. Inj. (3:18-cv-00802-BEN-JLB)
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   1   sufficient for all purposes other than purchasing firearms or ammunition is simply
   2   incorrect. Under federal law, a REAL ID will be required to access federal
   3   facilities, including airport security checkpoints, starting on October 1, 2020. 6
   4   C.F.R. § 37.5(b). To avoid the exact problem California is now trying to avoid,
   5   both the ATF and NRA have suggested that firearms vendors request additional
   6   documentation from customers with FLA IDs to avoid selling to prohibited persons.
   7   See Morales Decl., Exs. 9-10.
   8        Plaintiffs’ attempt to assert the interests of potential ammunition purchasers
   9   whose transactions have been rejected fairs no better. See Pls.’ Br. 18:5-18. Again,
  10   no party to this lawsuit—or anyone who is not a prohibited person—has told this
  11   Court that the law has prevented them from lawfully purchasing ammunition. Even
  12   if they had, resolving the source of the rejection, such as updating an address in the
  13   AFS to match the purchaser’s current address, can be done quickly via the
  14   Department’s website in many cases. See Morales Decl. ¶¶ 20-24. Plaintiffs’
  15   nonparty declarants place the number of such rejections between 10% and 60% of
  16   transactions. See Pls.’ Br. 18:6; compare Bartel Decl. ¶ 9 with Lowder Decl. ¶ 9.
  17   The actual number for July was just over 18%. Morales Decl. ¶ 50. There is no
  18   reliable evidence of an intractable problem preventing law-abiding Californians
  19   from purchasing ammunition.
  20        Finally, Plaintiffs’ suggest that the Ammunition Eligibility Check Laws “may”
  21   cause some ammunition vendors to “close their doors.” Pls.’ Br. 19:2:15. This
  22   again arises out of boilerplate assertions by nonparty declarants, based on anecdotal
  23   and apparently unreliable estimates of the time it takes to complete an eligibility
  24   check. See Burwell Decl. ¶ 12; Puehse Decl. ¶ 15; Morgan Decl. ¶ 13; Bartel Decl.
  25   ¶ 12; Lowder Decl. ¶ 13; Gray Decl. ¶ 13. None of these vendors has said the
  26   photograph of the holder,” is issued by a government, and is “of a type intended or
       commonly accepted for the purpose of identification of individuals.” 27 C.F.R.
  27   § 478.11. The regulation does not reflect a determination by the federal
       government that California’s FLA IDs are sufficient to purchase a firearm or
  28   ammunition.
                                                  21
                               Def.’s Opp’n to Pls.’ Mot. for Prelim. Inj. (3:18-cv-00802-BEN-JLB)
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   1   threat to their business is imminent. Nor could they state a Second Amendment
   2   claim if they had. See Teixeira, 873 F.3d at 682 (“Nothing in the text of the
   3   Amendment, as interpreted authoritatively in Heller, suggests the Second
   4   Amendment confers an independent right to sell or trade weapons.”). As of July
   5   31, 2019, there were over 2,000 licensed ammunition vendors in California.
   6   Morales Decl. ¶ 7. Plaintiffs have not suggested that any have gone out of business,
   7   or that any appreciable number will.
   8         Plaintiffs have not shown that they will be able to meet their “heavy burden”
   9   to facially invalidate the law, and thus cannot establish a likelihood of success on
  10   the merits of their claim that the Ammunition Eligibility Check Laws violate the
  11   Second Amendment. See Salerno, 481 U.S. at 745.
  12   II.   PLAINTIFFS CANNOT ESTABLISH A LIKELIHOOD OF SUCCESS ON THE
             MERITS OF THEIR DORMANT COMMERCE CLAUSE CLAIM.
  13
             Plaintiffs contend that Penal Code section 30312 violates the dormant
  14
       Commerce Clause because it “prevents out-of-state vendors . . . from accessing
  15
       California customers in a particular manner” and “authorizes . . . in-state Vendors
  16
       [to] completely exclude[] them from accessing the California market. Pls.’
  17
       Br. 21:23-22:1. To the contrary, Prop. 63 treats California and out-of-state online
  18
       sellers the same. A California company that sells ammunition over the internet
  19
       must have ammunition delivered to customers in California through a California-
  20
       licensed ammunition vendor, just like Plaintiff out-of-state businesses. See Cal.
  21
       Pen. Code § 30312(b). And an out-of-state ammunition vendor that has a physical
  22
       store in California may obtain a license and sell ammunition in California. See id.
  23
       § 30312. Laws that treat “all private companies exactly the same” do not
  24
       discriminate against interstate commerce in violation of the dormant Commerce
  25
       Clause. See Pharm. Research & Mfrs. of Am. v. Alameda, 768 F.3d 1037, 1042
  26
       (9th Cir. 2014) (quotation marks omitted). That is why the Western District of New
  27
       York dismissed a dormant Commerce Clause challenge to a similar provision of
  28
                                                  22
                               Def.’s Opp’n to Pls.’ Mot. for Prelim. Inj. (3:18-cv-00802-BEN-JLB)
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   1   New York law that effectively bans remote sales by requiring that ammunition
   2   purchases take place in person. See N.Y. State Rifle & Pistol Ass’n v. Cuomo, 990
   3   F. Supp. 2d 349, 379-81 (W.D.N.Y. 2013) aff’d in part and rev’d in part on other
   4   grounds, 804 F.3d 242, 251 n.20 (2d Cir. 2015).
   5        Although this Court previously relied on the Ninth Circuit’s decision in
   6   Nationwide Biweekly Admin., Inc. v. Owen, 873 F.3d 716 (9th Cir. 2017) in denying
   7   the Attorney General’s motion to dismiss, there is reason to reconsider. See Rhode,
   8   342 F. Supp. 3d at 1014. In Nationwide, the court held that making incorporation
   9   under California law a prerequisite to obtain a state-issued license likely violated
  10   the Dormant Commerce Clause. 873 F.3d at 736. Proposition 63 does not require
  11   businesses to incorporate in California, and is therefore distinguishable.
  12   III. PLAINTIFFS HAVE NOT SHOWN IRREPARABLE HARM.
  13        Plaintiffs cannot establish that they will suffer irreparable harm in the absence
  14   of preliminary injunctive relief because they have not shown that they are likely to
  15   succeed on their Second Amendment or dormant Commerce Clause theories. See
  16   Preminger v. Principi, 422 F.3d 815, 826 (9th Cir. 2005). Moreover, even if there
  17   were a likelihood of success on the merits, the mere assertion of constitutional
  18   claims would not be dispositive on this factor. See, e.g., Constructors Ass’n of W.
  19   Penna. v. Kreps, 573 F.2d 811, 820 n. 33 (3d Cir. 1978) (“[U]nlike First
  20   Amendment rights whose deprivation even from minimal periods of time
  21   constitutes irreparable injury . . . , a denial of equal protection rights may be more
  22   or less serious depending on the other injuries which accompany such
  23   deprivation.”). Here, the Individual Plaintiffs will still be able to purchase
  24   ammunition, and will be able to do so in about five minutes. See Morales Decl.
  25   ¶ 55. The harm they suffer, in the form of the additional minutes it now takes to
  26   complete a purchase of ammunition, is not substantial.
  27        Similarly, Plaintiffs cannot establish irreparable harm under a dormant
  28   Commerce Clause theory because the law they are challenging has been in effect
                                                  23
                               Def.’s Opp’n to Pls.’ Mot. for Prelim. Inj. (3:18-cv-00802-BEN-JLB)
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   1   for over a year-and-a-half. See Cal. Pen. Code, § 30312(a)(1) (“Commencing
   2   January 1, 2018, the sale of ammunition by any party shall be conducted by or
   3   processed through a licensed ammunition vendor.”). “A long delay by plaintiff
   4   after learning of the threatened harm also may be taken as an indication that the
   5   harm would not be serious enough to justify a preliminary injunction.” 11A
   6   Charles Alan Wright et al., Federal Practice and Procedure § 2948.1 (3d ed.); Lydo
   7   Enters. v. Las Vegas, 745 F.2d 1211, 1213 (9th Cir. 1984) (“Delay in seeking a
   8   preliminary injunction is a factor to be considered in weighing the propriety of
   9   relief.”).
  10   IV. THE BALANCE OF EQUITIES AND THE PUBLIC INTEREST WEIGH
           AGAINST PRELIMINARY INJUNCTIVE RELIEF.
  11
             The balance of the equities and the public interest “merge when the
  12
       Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009).
  13
       Here, these factors tip decidedly against granting Plaintiffs’ motion. In their first
  14
       month, the Ammunition Eligibility Check Laws have stopped over 100 prohibited
  15
       persons from purchasing ammunition. Morales Decl. ¶ 49. And they have likely
  16
       dissuaded many more prohibited persons from attempting to purchase ammunition.
  17
       Even the possibility that those prohibited purchasers may have used the
  18
       ammunition they attempted to purchase in crimes weighs against Plaintiffs’ motion.
  19
       See, e.g., Tracy Rifle & Pistol LLC v. Harris, 118 F. Supp. 3d 1182, 1193-94 (E.D.
  20
       Cal. 2015), aff’d 637 F. App’x 401 (9th Cir. 2016).
  21
             There is no substantial impediment to Plaintiffs’ purchase of ammunition.
  22
       What they have shown is that ammunition purchasers must pass an eligibility check
  23
       that, in the vast majority of cases, delays a purchase by a few minutes. See Morales
  24
       Decl. ¶¶ 55-56. A subset of purchasers—none of whom are parties—will need to
  25
       provide a second form of identification or correct their AFS records. See id. ¶¶ 20-
  26
       24, 36-45; Cal. Code Regs., tit. 11, § 4045.1. Still others—also not parties—may
  27
       have to take other minor steps, such as correcting their address in the AFS. These
  28
                                                  24
                               Def.’s Opp’n to Pls.’ Mot. for Prelim. Inj. (3:18-cv-00802-BEN-JLB)
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   1   inconveniences do not outweigh the public safety interests at stake. See Burford v.
   2   Sun Oil Co., 319 U.S. 315, 318 (1943) (“[I]t is in the public interest that federal
   3   courts of equity should exercise their discretionary power with proper regard for the
   4   rightful independence of state governments in carrying out their domestic policy.”
   5   (internal quotation marks omitted)); Maryland v. King, 133 S. Ct. 1, 2 (2012)
   6   (Roberts, C.J., in chambers) (“Any time a State is enjoined by a court from
   7   effectuating statutes enacted by representatives of its people, it suffers a form of
   8   irreparable injury.” (quotation marks omitted)); see also Coal. for Econ. Equity v.
   9   Wilson, 122 F.3d 718, 719 (9th Cir. 1997) (“[I]t is clear that a state suffers
  10   irreparable injury whenever an enactment of its people or their representatives is
  11   enjoined.”).
  12                                        CONCLUSION
  13        For the foregoing reasons, this Court should deny Plaintiffs’ motion for
  14   preliminary injunction.
  15
  16
       Dated: August 5, 2019                             Respectfully Submitted,
  17
                                                         XAVIER BECERRA
  18                                                     Attorney General of California
                                                         TAMAR PACHTER
  19                                                     Supervising Deputy Attorney General
  20
  21
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  24                                                     General Xavier Becerra
  25
  26
  27
  28
                                                    25
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                                CERTIFICATE OF SERVICE
  Case Name:      Rhode v. Becerra                          No.     3:18-cv-00802-BEN-JLB

  I hereby certify that on August 5, 2019, I electronically filed the following documents with the
  Clerk of the Court by using the CM/ECF system:
  DEFENDANT XAVIER BECERRA'S OPPOSITION TO PLAINTIFFS' MOTION FOR
  PRELIMINARY INJUNCTION
  I certify that all participants in the case are registered CM/ECF users and that service will be
  accomplished by the CM/ECF system.
  I declare under penalty of perjury under the laws of the State of California the foregoing is true
  and correct and that this declaration was executed on August 5, 2019, at Sacramento, California.


              Tracie L. Campbell                                  /s/ Tracie Campbell
                   Declarant                                           Signature

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